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EXHIBIT A
Case o-20-0Q6049-aSt DOC oo-L Filed Olflof/2zs Entered Ol/loizs 20141744

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FOR INQUIRIES CALL: NEW YORK CITY PRIVATE BANKING

~~ (212) 350-2535
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CONSTELLATION HEALTHCARE TECHNOLOGIES IN sn
3200 WILCREST DR SUITE 600 550 Sater
HOUSTON TX 77042 359,681,
1,455.66
450.00
$14,716,994.20
INTEREST PAID YEAR TO DATE $3,414.51
ACCOUNT ACTIVITY
02/01/2016 | BEGINNING BALANCE $21,075,669.55
02/01/2016 | TELLER MISCELLANEOUS DEBIT $100,000.00 20,975,669.55
02/05/2016 | in Branch Transfer/Withdrawal 300,000.00 20,675,669.55
02/08/2016 | BOOK TRANSFER DEBIT 138,394.41
02/08/2016 | SERVICE CHARGE FOR ACCOUNT 015004231868132 450.00 20,536,825.14
02/09/2016 | BOOK TRANSFER DEBIT 440,512.54 20,096,312.60
pred 9/2016 OUTGOING FEDWIRE FUNDS TRANSFER 5,058,408.81
ROBINSON BROG LEINWAND GREENE 15,037,903.79
“oz/25/2016 | BOOK TRANSFER DEBIT 307,365.25 14,730,538.54
02/29/2016 | INTEREST PAYMENT $1,455.66
02/29/2016 | BOOK TRANSFER DEBIT 10,000.00
02/29/2016 | BOOK TRANSFER DEBIT 5,000.00 14,716,994.20
ENDING BALANCE $14,716,994.20
INTEREST RATE HISTORY

01/31/2016

02/29/2016

TENTH AND MARKET STREET
1007 NORTH MARKET STREET SUITE 12 WILMINGTON, DE 19801

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| HOW TO BALANCE YOUR M&T BANK ACCOUNT

|

TO BALANCE YOUR CHECKBOOK WITH YOUR ACCOUNT STATEMENT COMPLETE STEPS 1, 2, & 3. |

oo
y | STEP 1 | Place a checkmark ( v ) beside each item listed on this statement which has a corresponding entry in
r~ your check register.
we Also place a checkmark next to the item in your check register.
STEP 2 | ADD to your check register:
(a) Any deposits and other credits shown on this statement which you have not already entered.
(b) Any interest this statement shows credited to your account.
STEP 3 | SUBTRACT from your check register:
(a) Any checks or other withdrawals shown on this statement which you did not enter into your register.
(b) Any automatic loan payments or ATM or other electronic debits shown on this statement which you
have not already subtracted.
(c) Any service charges shown on this statement which you have not already subtracted.
TO DETERMINE THE CURRENT BALANCE IN YOUR ACCOUNT:
STEP 4 | List any outstanding checks or debits written in your register, but not yet appearing on your statement.
OUTSTANDING CHECKS AND OTHER DEBITS OUTSTANDING CHECKS AND OTHER DEBITS
NUMBER AMOUNT NUMBER AMOUNT
1 $ 13 $
2 14
3 15
4 16
5 17
6 18
7 19
8 20
yee 21
4 Mo 22
—|11 SUBTOTAL OF COLUMN 2
12 SUBTOTAL OF COLUMN 1+
TOTAL OUTSTANDING
SUBTOTAL OF COLUMN 4 $ CHECKS AND DEBITS $
STEP 5 | Enter on this line the Ending Balance shown in the summary on the
front of this statement. $
STEP 6 | Enter the total of any deposits or other credits shown on your check
register which are not shown on this statement. $
STEP 7 | Enter the total of STEPS 5 & 6.
$
STEP & | Enter TOTAL OUTSTANDING CHECKS & DEBITS (from STEP 4).
$
STEP 9 | Subtract STEP 8 from STEP 7 and enter the difference here.
$
This amount should be your
current account balance.
ls your business growing too big or is it taking too much time for your deposit accounts
to be balanced on the back of the statement like this?
M&T Bank offers an account reconciliation service as one of its many cash management products.
For more information, contact your branch manager or relationship manager
or call M&T Bank Cash Management Services at 1-800-724-2240.
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